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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


  SERGIO BONILLA, individually and on behalf of all
  others similarly situated,

                                  Plaintiff,                   Case No. 21-cv-00051

             v.

  PEOPLECONNECT, INC. and CLASSMATES
  MEDIA CORP.,

                                  Defendants.


  THERESA LOENDORF, individually and on behalf of
  all others similarly situated,

                                  Plaintiff,                   Case No. 21-cv-00610

             v.

  PEOPLECONNECT, INC. and CLASSMATES
  MEDIA CORP.,

                                  Defendants.


         MOTION FOR EXTENSION OF TIME TO OBJECT TO MOTION FOR
               APPOINTMENT AS INTERIM CO-LEAD COUNSEL

        1.        Plaintiff Theresa Loendorf, by and through the undersigned counsel, hereby

moves for an extension of time to object to Plaintiff Sergio Bonilla’s Motion for Appointment as

Interim Co-Lead Counsel (Dkt. 18) (the “Motion”). Plaintiff Loendorf requests a one-week

extension (i.e., until April 23, 2021) to file an objection.

        2.        Without conferring with Plaintiff Loendorf’s counsel beforehand, on March 31,

2021, Plaintiff Bonilla filed the Motion, and on April 2, 2021, the Court ordered objections to the
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Motion be filed on or before April 16, 2021.

       3.      Since that time, Plaintiff Loendorf’s counsel has met-and-conferred with Plaintiff

Bonilla’s counsel regarding coordinating their efforts. Those discussions and negotiations are

ongoing.

       4.      In order to facilitate those discussions, and due to court deadlines in other matters,

Plaintiff Loendorf requests a one-week extension (i.e., until April 23, 2021) to file her objection,

in the event that Plaintiffs are unable to come to an agreement.

       5.      Plaintiff Loendorf has not previously requested any extension of her deadline to

respond to the Motion.

       6.      On April 13, 2021, Counsel for Defendants confirmed that Defendants take no

position on this requested extension.

       7.      On April 9, April 12, and April 13, 2021, Plaintiff Loendorf’s counsel emailed

Plaintiff Bonilla’s counsel to ascertain their position on this requested extension. Additionally,

on April 12, 2021, Plaintiff Loendorf’s counsel called Plaintiff Bonilla’s counsel to ascertain

their position on this requested extension. However, to date, Plaintiff Bonilla’s counsel has

failed to provide their position.

       8.      For the foregoing reasons, Plaintiff Loendorf respectfully requests that the Court

grant her a one-week extension (i.e., until April 23, 2021) to file an objection to the Motion.


Dated: April 14, 2021                                 By:      s/ J. Dominick Larry

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